SCIRE FACIAS on a recognizance in the Orphans' Court on the acceptance of the intestate lands of Henry Walker. Judgment by confession; amount to be ascertained by the prothonotary; stay of execution three months. March 31, 1842. The prothonotary ascertained *Page 503 
the amount to be $394 48; execution issued for that amount, returnable to May term, 1842, and the sheriff levied the money.
At the may term Rodney, for the plaintiff, moved the court for leave to correct a mistake of the prothonotary in ascertaining the amount of the judgment, he having allowed the plaintiff, as one of the heirs of Henry Walker, deceased, one-fifth of the valuation; whereas, he was entitled to one-fourth.
The Court laid a rule to show cause why the proceedings subsequent to the judgment should not ba vacated, and an order made on the prothonotary to correct this mistake, and ascertain the true amount of the judgment according to the recognizance, and the interest of the plaintiff in the same.
The matter came up again at the November term, and it appearing to the court that the prothonotary had made a mistake in ascertaining the amount of this judgment, by calculating one-fifth instead of one-fourth of the valuation money, the rule was made absolute. (See 19Johns. Rep. 244.)